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 Attorney for Plaintiff
 ANNE ADAMS

                   IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

  ANNE ADAMS,                            CASE NO. 1:22-CV-203

               Plaintiffs,
                                         COMPLAINT; DEMAND FOR
        vs.                              JURY TRIAL

  UNITED STATES POSTAL
  SERVICE and DOES 1-20,
  inclusive, inclusive,

                  Defendants.

                                    COMPLAINT

              Plaintiff ANNE ADAMS (“Plaintiff”), by and through her attorney

 Margaret E. Ward, for a Complaint against the above-named defendants, alleges

 and avers as follows:
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                            JURISDICTION AND VENUE

       1.     This court has jurisdiction of the claims against Defendants pursuant

 to 28 U.S.C. § 1346(b)(1) and 28 U.S.C. § 1402(b).

       2.     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) because

 a substantial part of the acts and omissions giving rise to Plaintiff's claims, injuries

 and/or damages occurred in this judicial district.

       3.     Plaintiff has exhausted her administrative remedies as required under

 28 U.S.C § 2675(a) of the Federal Torts Claims Act, 28 U.S.C. § 1346 et seq.

                                       PARTIES

       4.     Plaintiff ANNE ADAMS (“Plaintiff”) is a resident of Kamuela,

 County of Hawaii, State of Hawaii.

       5.     Defendant UNITED STATES POSTAL SERVICE is, and was at all

 relevant times herein, a agency of the UNITED STATES OF AMERICA. Based

 upon information and belief, Defendant UNITED STATES POSTAL SERVICE

 exercises ownership and/or control over the subject location giving rise to

 Plaintiff's claims, injuries and/or damages.

       6.     Does 1 through 20, inclusive, are sued under such fictitious names

 because their true names and capacities, whether individual, corporate or

 otherwise, are presently unknown to Plaintiff. When the true names and capacities



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 of Does 1 through 20, or any of them are ascertained, Plaintiff will seek leave to

 amend this pleading to reflect accurately such real names and capacities. Plaintiff is

 informed and believes, and based upon such information and belief, alleges that

 each of the fictitiously named defendants is responsible in some manner for the

 occurrences alleged in the Complaint and the Plaintiff’s damages as alleged herein

 were approximately and legally caused by their conduct.

       7.     Whenever and wherever reference is made to individuals who are not

 named as Defendant in this action, but were the agents and/or employees of

 Defendant, or any of the, it is alleged that such individuals at all time acted on

 behalf of Defendants named in this action within the course and scope of their

 respective agencies and/or employments.

       8.     Whenever and wherever reference is made in this Complaint to any

 conduct of Defendant UNITED STATES POSTAL SERVICE, or any of them, such

 allegations or references shall also be deemed to mean the conduct of each agency

 or office of Defendant UNITED STATES POSTAL SERVICE acting individually,

 jointly, and severally.

       9.     At all times relevant herein, all officials, employees, and agents of

 Defendant UNITED STATES POSTAL SERVICE were acting pursuant to

 authority delegated or conferred by Defendant and, in doing or failing to do the



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 things complained of herein, were acting within the scope of that authority.

       10.    At all times relevant herein, Defendant UNITED STATES POSTAL

 SERVICE and one or more of its employees and agents were acting pursuant to

 the official policies, practices, and/or customs of the Defendant which have been

 approved, ratified, and/or enforced by the persons and/or entities with final

 decision-making authority.

                                       FACTS

       11.    Plaintiff ANNE ADAMS incorporates by reference all the above

 paragraphs as though fully set forth herein.

       12.    The subject incident occurred on or about November 4, 2019.

       13.    On or about November 4, 2019, Plaintiff Anne Adams was at the

 Kamuela Post Office, located at 67-1197 Mamalahoa Highway, Kamuela Hawaii

 96743 (“subject location”).

       14.    Plaintiff was exiting the subject location, when suddenly and

 unexpectedly slipped and/or tripped in attempting to step down from the curve into

 the parking lot.

       15.    The curb was broken apart with non-obvious decay, making an uneven

 crevice on the edge approximately four inches wide and two inches deep.




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         16.   When Plaintiff fell, her left knee landed in the crevice of the defective

 curb.

         17.   This hazardous condition was not obvious to Plaintiff ANNE

 ADAMS, or to individuals similarly situated to her.

         18.   Plaintiff ANNE ADAMS immediately experienced pain in her lower

 extremity.

         19.   Plaintiff’s accident was witnessed by companions with whom Plaintiff

 ANNE ADAMS had been walking on the pedestrian sidewalk.

         20.   Due to the subject incident, Plaintiff ANNE ADAMS sustained a

 patella fracture.   She also sustained secondary injuries. Plaintiff continues to

 experience pain and functional limitations in her left kneecap due to the subject

 incident.

                                CAUSES OF ACTION

                                       COUNT I

                                    NEGLIGENCE

         21.   Plaintiff ANNE ADAMS incorporates by reference all the above

 paragraphs as though fully set forth herein.

         22.   Defendant UNITED STATES POSTAL SERVICE owns and/or

 exercises control over the subject location.



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        23.    Defendant UNITED STATES POSTAL SERVICE owed the following

 duties to Plaintiff:

               a.       A duty to maintain the subject location in a reasonably safe and

 non-hazardous condition;

               b.       A duty to timely identify and correct any unreasonable and/or

 nonobvious hazardous conditions present at the subject location;

               c.       A duty to timely respond to reports of crevices or decay at the

 subject location; and

               d.       A duty to warn business invitees of the existence of any

 unreasonable and/or nonobvious hazardous conditions at the subject location,

 including but not limited to crevices or decay.

        24.    Defendant UNITED STATES POSTAL SERVICE breached the duties

 it owed to Plaintiff ANNE ADAMS when it failed to maintain the subject location,

 identify and correct the hazardous condition at the subject location, and adequately

 warn Plaintiff ANNE ADAMS of the existence of the unreasonably hazardous

 condition.

        25.    As a direct and proximate result of Defendant UNITED STATES

 POSTAL SERVICE’s breach of their duties, Plaintiff ANNE ADAMS slipped and

 fell and suffered serious injuries, causing damages to Plaintiff in an amount to be



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 proven at trial.

                                      COUNT II

                    NEGLIGENT TRAINING AND SUPERVISION

        26.    Plaintiff ANNE ADAMS incorporates by reference all the above

 paragraphs as though fully set forth herein.

        27.    Defendant UNITED STATES POSTAL SERVICE had a duty to

 properly train and supervise its agents, employees, and representatives.

        28.    Upon information and belief, Defendant UNITED STATES POSTAL

 SERVICE breached its duty to properly train its agents, employees, and

 representatives by failing to have procedures in place to 1) maintain the subject

 location in a safe and non-hazardous condition, 2) identify and correct the

 hazardous condition at the subject location and 3) adequately warn Plaintiff ANNE

 ADAMS of the existence of any and all hazardous conditions.

        29.    Defendant UNITED STATES POSTAL SERVICE breached its duty to

 properly supervise its agents, employees, and representatives by failing to instruct

 the same to maintain the premises in a safe and non-hazardous condition, identify

 and correct the hazardous conditions at the subject location, and 3) adequately

 warn Plaintiff ANNE ADAMS of the existence of unreasonably hazardous

 conditions.



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       30.    As a direct and proximate result of Defendant UNITED STATES

 POSTAL SERVICE’s breach of its duties to train and supervise its agents,

 employees, and/or representatives, Plaintiff ANNE ADAMS suffered serious

 damages in an amount to be proven at trial.

                                     COUNT III

                          NEGLIGENT ENTRUSTMENT

       31.    Plaintiff ANNE ADAMS incorporates by reference all the above

 paragraphs as though fully set forth herein.

       32.    Upon information and belief, at all relevant times herein, Defendant

 UNITED STATES POSTAL SERVICE was in principal-agent relationships with

 unknown Doe Defendants who provided services to Defendant UNITED STATES

 POSTAL SERVICE.

       33.    Upon information and belief, unnamed Doe Defendants were

 employees, officers, and/or agents of Defendant UNITED STATES POSTAL

 SERVICE, and were acting within the scope of their employment and/or agency

 when the tortious behavior described herein occurred.

       34.    As a direct and proximate result of the negligent acts and omissions of

 the unknown Doe Defendants, Plaintiff ANNE ADAMS was seriously injured and

 has suffered damages in an amount to be proven at trial.



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       35.    Defendant UNITED STATES POSTAL SERVICE is vicariously liable

 for the negligent acts and omissions of its employees, officers, and/or agents.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff ANNE ADAMS respectfully requests that:

       1.     Judgment be entered in her favor and against Defendant UNITED

 STATES POSTAL SERVICE, jointly and severally, on all counts of the Complaint;

       2.     Plaintiff be awarded general, special, and compensatory damages in

 amounts to be determined at trial; and

       3.     For such other relief as this Court deems just and proper.


              DATED:       Kamuela, Hawai‘i, May 3, 2022.

                                               ____________________________
                                               MARGARET E. WARD
                                               Attorney for Plaintiff
                                               ANNE ADAMS




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                                             DEMAND FOR JURY TRIAL
         vs.

   UNITED STATES POSTAL
   SERVICE and DOES 1-20,
   inclusive, inclusive,

                   Defendants.

                               DEMAND FOR JURY TRIAL

               Plaintiff hereby demands a trial by jury on all issues triable of right by

  jury in this case, pursuant to Rule 38, Federal Rules of Civil Procedure


               DATED:          Kamuela, Hawai‘i, May 3, 2022.

                                                ____________________________
                                                MARGARET E. WARD
                                                Attorney for Plaintiff
                                                ANNE ADAMS
